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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

PROLITEC INC.,

              Plaintiff, Counter-Defendant           C.A. No. 20-984-WCB

v.

SCENTAIR TECHNOLOGIES, LLC,

              Defendant, Counter-Plaintiff


           SCENTAIR’S OPENING BRIEF IN SUPPORT OF ITS
MOTION FOR SUMMARY JUDGMENT AND TO EXCLUDE EXPERT TESTIMONY


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 Exhibit No.   Description

     1         U.S. Patent No. 10,838,388

     2         Excerpts from Patent File History for U.S. Patent No. 10,838,388

     3         Excerpts from Patent Reexamination File History for U.S. Patent No.
               10,838,388

     4         (UNDER SEAL) Opening Expert Report of Cory Plock, Ph.D.

     5         Exhibit D to Opening Expert Report of Cory Plock, Ph.D.

     6         (UNDER SEAL) Reply Expert Report on Invalidity and Supplement Expert
               Report on Non-Infringement by Cory Plock Ph.D.

     7         (UNDER SEAL) Deposition of Cory Plock, held on October 10, 2024

     8         Japanese Patent Appl. No. JP 2009-217641 A to Hamada

     9         U.S. Patent Appl. Pub. No. US 2013/0131883 to Yamada

     10        U.S. Patent Appl. Pub. No. US 2011/0089260 to Van Roemburg

     11        (UNDER SEAL) ScentAir Requirements Specification Document SA-1638
               v3.5 (SCENTAIR_00082577)

     12        (UNDER SEAL) ScentAir Requirements Specification Document SA-2001
               v1.0 (SCENTAIR_00082355)

     13        Environmental Scent Service Agreement (SCENTAIR_00081879)

     14        Environmental Scent Service Agreement (SCENTAIR_00004706)

     15        (UNDER SEAL) Deposition of John Thurston Chandler, held on May 15,
               2023




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I.     NATURE AND STAGE OF THE PROCEEDINGS

       This is a patent infringement case where both parties asserted their patents, but only

ScentAir’s patent remains to be adjudicated. Prolitec initiated this lawsuit in July 2020, asserting

infringement by ScentAir of four Prolitec patents. D.I. 1. ScentAir counterclaimed for

infringement of four of its own patents. D.I. 33. Prolitec asserted affirmative defenses in response,

including inequitable conduct. D.I. 193. Both parties narrowed their asserted patents, leaving

Prolitec with two asserted patents remaining and ScentAir with one (the ‘388 Patent). D.I. 19; D.I.

162; D.I. 179. ScentAir’s part of the case was stayed pending ex parte reexamination proceedings

initiated by Prolitec. See D.I. 212 at 1-2. Prolitec’s part of the case proceeded to trial in January

2024, where a jury concluded that ScentAir did not infringe the asserted claims of the Prolitec

patents and that those claims were not invalid. D.I. 304, 315. The Court lifted the stay on

ScentAir’s part of the case on May 8, 2024 (D.I. 330), after the USPTO confirmed the patentability

of all 20 claims of the ‘388 Patent. See D.I. 327.

II.    SUMMARY OF ARGUMENT

       A.      Prolitec’s invalidity defenses rely on a claim construction of the complementary,

but mutually exclusive, claim terms “in table” and “out table” that would permit a single database

table to meet both terms. A proper construction of “in table” and “out table” prohibits them from

being met by the same database table. ScentAir thus moves for summary judgment of no

anticipation and no obviousness under a correct claim construction.

       B.      The on-sale bar requires a pre-critical date sale of the patented invention, but

Prolitec’s on-sale bar defense cannot prove one ever occurred, certainly not by clear and

convincing evidence. ScentAir did not have a patented invention to sell at the time of its agreement

with the Barclays Center in March 2012 because the inventors conceived of the invention after

that date. And ScentAir and the inventors did not complete development of the Barclays Center


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system until after the critical date, July 10, 2012. Regardless, Prolitec has failed to meet its burden

to show that the complete invention was ready for patenting prior to the critical date because Dr.

Plock fails to identify what meets the “command data” requirement of the recited claims. ScentAir

thus moves for summary judgment of no on-sale bar for these two independent reasons.

       C.      Dr. Plock’s opinions on obviousness and inherency are legally improper for a host

of reasons. In short, Dr. Plock’s obviousness opinions propose a “pick and choose” approach that

fails to provide anything more than generic, hindsight-based reasons for obviousness that are

divorced from the references being combined. Dr. Plock’s inherency opinions are also improper

because they have no grounding in the references themselves and are just as hindsight-ridden as

his obviousness opinions. ScentAir thus moves for Dr. Plock’s opinions to be excluded under

Daubert and, as a result, that ScentAir be granted summary judgment of no anticipation and no

obviousness (to the extent not already granted for the reasons above).

       D.      Prolitec advances an inequitable conduct defense but, like so many defendants who

raise the defense, has no evidence to support the “specific intent to deceive the USPTO” pillar of

inequitable conduct. ScentAir thus moves for summary judgment of no inequitable conduct.

III.   STATEMENT OF FACTS

       A.      The ‘388 Patent

       1.      The ‘388 Patent has two inventors, John Thurston Chandler and Chad Alan Morton.

Ex. 1 at (72).1 The attorney of record responsible for prosecution of the application that led to the

‘388 Patent was Sameer Vadera. E.g., Ex. 2 at 10.

       2.      The ‘388 Patent has 20 claims, three of which are independent claims: 1, 8, and 15.




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  All exhibits referenced in this brief are to the Declaration of Vincent J. Galluzzo being filed
contemporaneously herewith.


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Ex. 1, cls. 1, 8, 15. Claim 1 and its dependent claims (2-7) each recite a “computer-implemented

method for delivering scents,” claim 8 and its dependent claims (9-14) each recite a “system for

delivering scents,” and claim 15 and its dependent claims (16-20) each recite a “computer-program

product.” Id., cls. 1-20.

        3.      Each claim of the ’388 Patent requires, among other things, “an in table in which

verification information relating to each networked scent delivery device is stored” and “an out

table in which instructions for each networked scent delivery device are stored.” Id., cls. 1, 8, 15.

        4.      Each claim of the ‘388 Patent also requires, among other things, “command data”

and “transmitting the command data to the networked scent delivery device using the

communication network.” Id., cls. 1, 8, 15.

        5.      During the original prosecution of the ‘388 Patent, the Examiner stated in the

“Reasons for Allowance” that “[n]one of the prior art of record, alone or in combination, expressly

teach or fairly suggest the combination of the specifics” of the patent claims “comprising of a

central controller configured to control networked scent delivery devices using an out table

wherein instructions for each networked scent delivery device is stored and using an in table

wherein verification information relating to each networked scent delivery device is stored to

provide real-time status updates for each networked scent delivery device.” Ex. 2 at 155-56.

        6.      During the ex parte reexamination proceedings initiated by Prolitec, the Examiner

stated in the “Reasons for Confirmation of Patentability” that “Claims 1-20 are confirmed as

patentable because Hamada does not disclose or make obvious ‘an in table in which verification

information relating to each network[ed] scent delivery device is stored’ and ‘an out table in which

instructions for each networked scent delivery device are stored’” as well as “‘generating

command data that is configured to control the operation of a networked scent delivery device of




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the one or more networked scent delivery devices, wherein the command data is generated based

on the instructions stored in the out table of the central controller’” in combination with the other

limitations of the claims.” Ex. 3 at 458-59.

          B.    Prolitec’s Anticipation and Obviousness Defenses

          7.    Dr. Plock, Prolitec’s technical expert, opines that the “in table” requirement of the

‘388 Patent claims are met by one of two references: Hamada or Yamada. Ex. 7, 232:6-233:1. For

Hamada, Dr. Plock relies on the “Scent Service Registration Table” depicted in Figure 4 of

Hamada. Id., 200:8-17; Ex. 8 at Fig. 4. For Yamada, Dr. Plock relies on the table depicted in

Yamada’s Figure 28. E.g., Ex. 4, ¶ 300; Ex. 9 at Fig. 28.

          8.    Dr. Plock opines that the “out table” requirement of the ‘388 Patent claims is met

only by the Hamada reference. Ex. 7, 233:8-15. Dr. Plock relies on the same “Scent Service

Registration Table” depicted in Figure 4 of Hamada as meeting both the “out table” and the “in

table” requirements of the ‘388 Patent claims. Id., 207:24-208:5; see also id., 198:8-17, 200:8-17.

          9.    Prior-art Hamada discloses a system that utilizes a “communication network 4 such

as the Internet,” but is not limited to use of the internet as the means of communication. Ex. 8,

¶ [0019]; Ex. 7, 203:20-204:17, 205:15-206:1.

          10.   Prior-art Van Roemburg is silent as to the type, number, and usage of any internal

data structures of its communication system. See generally Ex. 10, ¶¶ [0006]-[0017], [0033]-

[0052].

          C.    Prolitec’s On-Sale Bar Defense

          11.   Prolitec relies on at least two documents that it contends show the subject matter of

the ‘388 Patent was ready for patenting prior to the critical date of July 10, 2012: Ex. 11 (dated

July 6, 2012) and Ex. 12 (dated June 18, 2012). See Ex. 7, 142:19-23. Prolitec also relies on a

March 21, 2012, Environmental Scent Service Agreement between ScentAir and Brooklyn Events


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Center, LLC (the “Barclays Agreement”).

       12.     The Barclays Agreement is a services agreement whereby the service “is provided

by means of an on-premise fragrance delivery system in the Serviced Premises (the ‘Equipment’)

that uses replaceable scent cartridges or containers.” Ex. 13, SCENTAIR_00081879. The

Addendum to the Barclays Agreement includes proposed pricing for “Installation”, “Mthly”, and

“Qrtly” for various areas in the Barclays Cener. Id., SCENTAIR_00081882. The Addendum also

includes a price for “Control Panel/Networking System.” Id., SCENTAIR_00081883.

       13.     The Barclays Agreement does not state that it is for a computer-implemented

method for delivering scents such as would meet claims 1-7 of the ‘388 Patent, a system for

delivering scents such as would meet claims 8-14 of the ‘388 Patent, or a computer-program

product such as would meet claims 15-20 of the ‘388 Patent.

       14.     The inventions claimed in the ‘388 Patent were conceived as a result of

development of the Barclays Center system, which occurred after March 21, 2012. Ex. 15, 79:2-

81:9, 150:7-15, 157:8-158:12.

       15.     ScentAir did not complete development of the Barclays Center system until after

July 6, 2012. Id., 92:17-95:4, 123:17-125:23, 129:25-130:16, 138:10-17, 158:14-18.

       D.      Prolitec’s Inequitable Conduct Defense

       16.     Prolitec’s Seventh Affirmative Defense alleges that there was inequitable conduct

by “the applicant and named inventors, John Thurston Chandler and Chad Alan Morton, and/or

their representatives involved in the prosecution of the patents.” D.I. 193, ¶ 7. Prolitec’s

affirmative defense pleads intent in a single paragraph “[o]n information and belief.” Id., ¶ 28.

       17.     None of ScentAir, John Thurston Chandler, Chad Alan Morton, or any of their

representatives acted with a specific intent to deceive the USPTO.




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IV.    LEGAL STANDARDS

       A.      Summary Judgment

       Summary judgment should be granted “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). Any evidence must be viewed in the light most favorable to the non-movant. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). The substantive law dictates which facts are

material, and disputes over non-material facts will not defeat a motion for summary judgment. Id.

at 248. A dispute about a material fact is “genuine” when the evidence is “such that a reasonable

jury could return a verdict for the nonmoving party.” Id.

       The movant must identify the basis for summary judgment and the evidence demonstrating

the absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 322-23

(1986). If, as here, the moving party does not have the ultimate burden of persuasion at trial, the

moving party need not produce evidence negating the existence of a material fact but need only

point out the absence of evidence supporting the non-movant’s case. Id. at 325.

       B.      FRE 702 and Daubert

       The Supreme Court has “assign[ed] to the trial judge the task of ensuring that an expert’s

testimony both rests on a reliable foundation and is relevant to the task at hand.” Daubert v. Merrell

Dow Pharms, Inc., 509 U.S. 579, 597 (1993); Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152

(1999); Izumi Prods. Co. v. Koninklijke Philips Elecs. N.V., 315 F. Supp. 2d 589, 600-01 (D. Del.

2004). Under Daubert and Rule 702 judges are “gatekeeper[s],” allowing the jury to hear only

relevant, reliable evidence. Kumho Tire, 526 U.S. at 145. Thus, “any step that renders [expert]

analysis unreliable under [Daubert] renders the expert’s testimony inadmissible.” In re Paoli R.R.

Yard PCB Litig., 35 F.3d 717, 745 (3d. Cir. 1994) (emphasis in original).




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V.     ARGUMENT

       A.      Prolitec’s Invalidity Defenses Rest on a Legally Improper Claim Construction

       ScentAir moves for summary judgment of no invalidity under 35 U.S.C. § 102 and for

summary judgment of no invalidity under 35 U.S.C. § 103 because Prolitec’s defenses rest on a

legally improper understanding of the recited “in table” and “out table.” As detailed below, the “in

table” and “out table” of the asserted claims cannot be met by a single table, but Prolitec’s defenses

rely only on one table. Because the “elements of the prior art must be arranged or combined in the

same manner as in the claim at issue,” Prolitec’s invalidity defenses fail as a matter of law. Solvay,

S.A. v. Honeywell Int’l Inc., 886 F. Supp. 2d 396, 402 (D. Del. 2012), aff'd, 742 F.3d 998 (Fed.

Cir. 2014) (citing In re Gleave, 560 F.3d 1331, 1334 (Fed. Cir. 2009)).

               1.      This Claim Construction Dispute Is Ripe for Adjudication Now

       ScentAir raises what is effectively a claim construction dispute at summary judgment

because it came to the forefront during expert discovery. E.g., D.I. 371 at 1-2. Because this dispute

arose after claim construction, the Court can resolve it as part of summary judgment. ART+COM

Innovationpool GmbH v. Google Inc., 155 F. Supp. 3d 489, 507 (D. Del. 2016); see also Conoco,

Inc. v. Energy & Enviro. Int’l, L.C., 460 F.3d 1349, 1359 (Fed. Cir. 2006) (“[A] district court may

engage in claim construction during various phases of litigation, not just in a Markman order.”).

       This dispute is also dispositive of Prolitec’s anticipation and obviousness defenses, all of

which (except for those in Dr. Plock’s Reply Report at ¶¶ 119-125, which are insufficient in their

own way, see Section V.C.1.b(ii), infra) rest on those two claimed tables being met by a single

table in the prior art. A proper construction that the “in table” and “out table” cannot be met by the

same table would resolve those defenses in ScentAir’s favor. The Court should resolve this

“fundamental dispute.” See O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351,

1362 (Fed. Cir. 2008) (“When the parties present a fundamental dispute regarding the scope of a


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claim term, it is the court’s duty to resolve it.”).

                2.      The “In Table” and “Out Table” Cannot Be Met by a Single Table

        Ordinarily, “a single component of an accused product [or prior art reference] can satisfy

more than one claim element.” Sun Pharma. Indus. Ltd. v. Saptalis Pharms., LLC, No. 18-649-

WCB, 2019 WL 2549267, at *7 (D. Del. June 19, 2019). But here, the plain language of the claims,

the specification, and the prosecution history all clearly teach that the “in table” and “out table”

are distinct components of the patented invention such that they cannot be met by a single table.

                        a.      The Claims Recite a Separate “In Table” And “Out Table”

        The plain language of the ‘388 Patent claims prohibits the “in table” and “out table” from

being met by a single table. The claim language supports this conclusion in several ways.

        First, the independent claims recite the “in table” and “out table” as separate elements. For

example, claim 1 recites “wherein the central controller stores an in table in which verification

information relating to each networked scent delivery device is stored and an out table in which

instructions for each networked scent delivery device are stored.” Ex. 1, cl. 1 (emphasis added).

The claim’s use of “an” in table “and an” out table linguistically separates the two. See Becton,

Dickinson & Co. v. Tyco Healthcare Grp., LP, 616 F.3d 1249, 1254 (Fed. Cir. 2010). So does their

definition by different names, the “in table” and the “out table,” as opposed to, for example “a

table” and “a table.” The “clear implication” of claim drafting like this is that the “in table” and

“out table” are “distinct component[s]” of the patented invention. Id. (quoting Gaus v. Conair

Corp., 363 F.3d 1284, 1288 (Fed. Cir. 2004)).

        Second, beyond being recited separately, the very names of the two tables, “in table” and

out table,” are mutually exclusive because the ordinary and customary meaning of “in” and “out”

is mutually exclusive. Shire Dev., LLC v. Watson Pharms., Inc., 787 F.3d 1359 (Fed. Cir. 2015) is

informative on this point. There, the disputed terms were an “inner lipophilic matrix” and an


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“outer hydrophilic matrix.” Id. at 1365. The Federal Circuit explained that “the logical reading of

the claim requires separation between the matrices because the matrices are defined by mutually

exclusive spatial characteristics—one inner, one outer.” Id. at 1366–67. “[O]ne matrix cannot be

both inner and outer….” Id. at 1367. Neither can one table meet both the claimed “in table” and

“out table.”

        Third, the “in table” and “out table” are recited as having different functions. Whereas the

“in table” stores “verification information” and the “status” for each networked scent delivery

device, the out table stores “instructions for each networked scent delivery device.” Ex. 1, cls. 1,

8, 15. And the “verification information” is used differently than the “instructions.” Id. Namely,

claim 1 recites generating command data “based on the instructions stored in the out table” while

“the status stored in the in table of the central controller identifies a functionality of the networked

scent delivery device, thereby providing a real-time status update for each networked scent

delivery device.” Id.

        Fourth, nothing in the claim language even suggests that the in table and the out table can

be the same table. See Becton, 616 F.3d at 1254-55 (finding two claim elements were required to

be separate because “[t]here is nothing in the asserted claims to suggest that the [two elements]

can be the same structure.”) (citation omitted).

        The claim language thus creates a presumption that the “in table” and “out table” are

distinct and cannot be met by a single table absent “any evidence to the contrary.” See CAE

Screenplates, Inc. v. Heinrich Fiedler GmbH & Co., 224 F.3d 1308, 1317 (Fed. Cir. 2000) (“In

the absence of any evidence to the contrary, we must presume that the use of … different terms in

the claims connotes different meanings.”)); see also Kyocera Senco Indus. Tools Inc. v. Int’l Trade

Comm’n, 22 F.4th 1369, 1382 (Fed. Cir. 2022) (“No party has identified claim language




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overcoming the presumption that the [two elements] are distinct components.”); Willis Elec. Co.,

Ltd. v. Polygroup Macau Ltd. (BVI), 777 F. App’x 495, 498 (Fed. Cir. 2019) (“Nothing in the

claims suggest that [two elements] can coexist as the same element.”).

          Dr. Plock and Prolitec cannot provide any evidence to the contrary in the claims.2 Dr. Plock

was asked at deposition for claim language support for his “same table” opinions. He answered,

there is “nothing to restrict or require that the two tables be different tables” and the claims “do[]

not say that there is an in table separate from an out table.” Ex. 7, 92:25-93:24. Dr. Plock also

referred to Paragraph 105 of his Reply Report and otherwise stated that he’s “not aware of any”

other support for his opinion. Id., 93:25-95:8. But Paragraph 105 of the Reply does not provide

any evidence to contradict the presumption that the “in table” and “out table” are distinct. It only

reiterates effectively what he already testified, that “nothing in the claims precludes an

interpretation wherein the status information and the instructions used to generate commands are

stored in the same table.” Ex. 6, ¶ 105. Dr. Plock simply is not reading the claim language at face

value. Regardless, the claim language also does not affirmatively state that a single table can meet

the claim language, so that leaves the presumption of separation intact. The presumption must be

overcome by “evidence to the contrary,” not a lack of evidence, which is all that Dr. Plock and

Prolitec have. See CAE Screenplates, 224 F.3d at 1317.

                         b.      The Specification Confirms the Plain Reading of the Claims

          Claims must read in light of the specification, and the specification here confirms that the

“in table” and “out table” are distinct elements that cannot be met by the same table. See, e.g.,

Becton, 616 F.3d at 1254-55 (find that the specification confirmed that the elements were separate




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    Or in the specification (see § V.A.2.b, infra) or prosecution history (see § V.A.2.c, infra).


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as recited in the claims). First, the only figure of the ‘388 Patent that depicts the “in table” and

“out table” depicts them as separate tables:




Ex. 1 at Figure 6 (annotated). Second, the specification consistently and exclusively discusses the

“in table” and “out table” as each having separate functions. For example, “verification signals

may be received and stored in an in table,” and the “in table 612 may send or otherwise make

accessible the verification information to the schedule control section 606.” Id., 16:34-38; see also

id., 18:67-19:3, 25:30-33. Conversely, the out table is “configured to store the updated list of

instructions for each machine in the system.” Id., 16:7-8; see also id., 16:10-30. Third, like with

the claim language, nothing in the specification teaches that the “in table” and the “out table” can

be the same table. Dr. Plock admitted to the same at deposition. Ex. 7, 96:19-25.

       Here again, Dr. Plock and Prolitec have no “evidence to the contrary” to overcome the

presumption of separate tables. When asked to identify specification support, Dr. Plock’s answer

mirrors his answer on the claim language: he reviewed the specification “to determine if it said

anything that would preclude, you know, one table satisfying both. And I didn’t come up with




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anything.” Ex. 7, 96:10-18. The lack of an embodiment that precludes the claim construction

Prolitec seeks is insufficient to overcome the presumption of separateness.

                       c.      The Prosecution History Confirms the Proper Construction

       The prosecution history, and in particular the recent ex parte reexamination record, further

confirms that the “in table” must be separate from the “out table.” See, e.g., Northpeak Wireless,

LLC v. 3COM Corp., 674 F. App’x 982, 986 n.1 (Fed. Cir. 2016) (“Statements made during

reexamination procedures before the PTO are part of the prosecution history.”) (citation omitted).

During reexamination, ScentAir described the “in table” and “out table” as being “two specific

data structures” and otherwise distinguished them before the USPTO. Ex. 3 at 277 (emphasis

added); see also id. at 280 (“[T]he invention’s out table and in table make it possible to build scent

delivery devices that are more efficient.”). Again, Dr. Plock and Prolitec have nothing to the

contrary. When asked during deposition for prosecution record support, Dr. Plock testified that he

“can’t think of anything, sitting here right now, from the prosecution history, one way or the other.”

Ex. 7, 97:12-20.

                                  *               *               *

       The intrinsic evidence routinely and exclusively describes the claimed “in table” and “out

table” as distinct elements. ScentAir’s construction thus stays true to the claim language and most

naturally aligns with the ‘388 Patent’s description of the invention, so the Court should adopt it.

Phillips v. AWH Corp., 415 F.3d 1303, 1316 (Fed. Cir. 2005) (en banc).

               3.      Under the Correct Construction, Summary Judgement Is Warranted

                       a.      Prolitec’s Anticipation Defense Relies on Only One Table

       Prolitec’s lone anticipation defense relies on prior-art Hamada, but Dr. Plock only

identifies one table from Hamada (the “Scent Registration Table” of Hamada’s Figure 4) as

meeting both the “in table” and the “out table.” See Ex. 6, ¶ 118 (“[A]s explained in my Opening


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Report, the scent service registration table (Figure 4) stored in the scent service management

device in Hamada reads on both the claimed ‘in table’ and ‘out table.’”). Dr. Plock confirmed this

position at his deposition. Ex. 7, 198:8-17 (“[O]ne table meets the in table and the out table

requirements.”), 200:10-17 (identifying the scent service registration table in Figure 4 of Hamada

as the “in table”), 207:24-208:5 (identifying the scent service registration table in Figure 4 of

Hamada as the “out table”). Under a proper understanding of “in table” and “out table” prohibiting

a single table from meeting both elements, Prolitec’s anticipation defense cannot survive summary

judgment.

                        b.     Prolitec’s Obviousness Defenses Rely on Only One Table

       Prolitec’s obviousness combinations boil down to two references at the end of the day:

Hamada and Yamada. That is because those are the only two references Dr. Plock contends have

either an “in table” or an “out table” as required by the asserted claims. Ex. 7, 232:6-233:1 (relying

only on Hamada and Yamada for an “in table”); id., 233:8-15 (relying only on Hamada for an “out

table”). As discussed above, however, Dr. Plock’s assertions about Hamada rely only on a single

table, and Yamada likewise only has a single table. See Ex. 4, ¶ 267; Ex. 7, 233:2-7. Accordingly,

under a proper claim construction, summary judgment is warranted on any combination of

references that lacks both Hamada and Yamada, since those combinations would only have, at

most, a single table.

       Summary judgment is also warranted on Prolitec’s obviousness combinations that include

both Hamada and Yamada. The one place where Dr. Plock provides any analysis as to how or why

a POSITA would combine those two references is in his Opening Report at ¶¶ 264-268, but that

combination is not made to meet the requirement of the “in table” of the asserted claims. Instead,

Dr. Plock’s analysis is in relation to the “receiving a signal from the networked scent delivery

device using the communication network, wherein the signal includes status data representing a


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status of the networking [sic] scent delivery device” element. Ex. 4, ¶ 265. Dr. Plock has nowhere

else proposed to combine the purported “in table” of Yamada with the purported “out table” of

Hamada such that the resulting combination has two tables. Thus, all of Dr. Plock’s obviousness

combinations (except for his new theories in Reply at ¶¶ 119-125, addressed in Section V.C.1.b(ii),

infra) rely on a single table and none can survive under a proper construction. Summary judgment

is therefore proper.

       B.      Summary Judgment of No On-Sale Bar Is Warranted

               1.      Prolitec Has Failed to Show a Sale of the Patented Invention

       The Supreme Court has interpreted the on-sale bar of § 102(b) as having two requirements

that must both occur before the critical date of one year before the application: (1) “the product

must be the subject of a commercial offer for sale and (2) “the invention must be ready for

patenting.” Pfaff v. Wells Elecs., Inc., 525 U.S. 55, 67-68 (1998). This motion relates to that first

requirement, and particularly the “more difficult” part of that requirement: whether there was a

commercial sale “of the patented invention.” Plumtree Software, Inc. v. Datamize, LLC, 473 F.3d

1152, 1163 (Fed. Cir. 2006) (finding a commercial offer because “there was a binding contract”

but stating, “The more difficult question is whether the commercial offer was ‘of the patented

invention’”). Prolitec’s on-sale bar defense cannot survive summary judgment because there was

no sale or offer of sale of the patented invention before the critical date.

       First, Prolitec relies on a “ready for patenting” date of July 6, 2012, but contends there was

a sale of that invention four months earlier in March 2012. That, as the Federal Circuit has said, is

“illogical;” “with no conception of an invention, there cannot be an offer for sale or a sale of that

invention.” Sparton Corp. v. United States, 399 F.3d 1321, 1324-25 (Fed. Cir. 2005) (“Under the

Claims Court’s analysis, the patented single part release plate was the subject of an offer for sale

before it was even conceived. Such a result is illogical.”). Prolitec’s on-sale bar defense thus cannot


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survive summary judgment.

       Second, the Barclays Agreement could not have sold the patented invention in March 2012

because ScentAir had not even started developing it yet. It was only after the Agreement was

signed that the inventors began developing the scenting system for the Barclays Center. Ex. 15,

138:19-139:18; see also id., 129:9-15; Ex. 11 (first revision date of April 5, 2012). That is because

the patented invention was “inspired by” the “control system that was installed in Barclays

Center.” Ex. 15, 150:7-15; id., 79:2-7 (the Barclays arrangement “basically spurred the

development of those inventions”); id., 79:11-21; (the “process of invention … actually came

about because of that project”); see also id., 78:13-25, 79:23-81:9 (inventions were developed “in

response to a customer request”), 157:8-158:12.

       The timeline here is crucial, and inventor Chandler provided detailed testimony on that

timeline.3 ScentAir was (and still is) in the business of selling “off-the-shelf systems.” Id., 79:23-

80:8. But if a customer had a desire for something different, ScentAir’s “sales team and the

customer could work together” to discuss what could be done. Id., 80:9-17. As relevant here, an

individual at Barclays “was very much on board with the possibility of using fragrance” and

thought “together with the ScentAir sales team” that they could come up with a solution. Id., 80:18-

81:5. The only details of that solution were a “control system” that needed to be “on a schedule,”

it had to “be controlled by an iPad,” it had to “support multiple fragrances” at different areas of

the arena, and it had to “coordinate a particular fragrance … with a particular event.” Id., 85:7-

88:14. Those high-level requirements “filtered [their] way down to the product development

team,” including inventor Chandler, who was urged to develop a solution “pretty soon because the




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  Inventor Morton was not asked about, and did not refute, any of these topics of Chandler’s
testimony.


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thing [the Barclays Center] is going to open in however many months.” Id., 81:5-9.

       “[A] lot of the design issues and challenges” of developing the system “were not

immediately apparent from” the initial customer request and requirements. Id., 88:15-24. “It’s only

in the process of actually – of actually developing it” that Chandler and Morton solved those

challenges. Id., 88:24-89:12. Some of those developments happened after the critical date (or at

least after the date of the latest document cited by Prolitec, July 6, 2012) and relate directly to the

network communication aspects of the asserted claims. Id., 128:13-129:7. There was “lots of

grueling technical stuff” involved in the project, including a late switch of communications

networks and interfaces. Id., 138:19-139:18.

       Importantly, the development “certainly was not done” by July 6, 2012, including because

other versions contained not just the user interface but also “the PHP code and the SQL code” to

run the software. Id., 129:25-130:16, 138:10-17. And the control system installed at the Barclays

Center was completed even later—“essentially the day that the Center actually opened,” which

was in September 2012. Id., 92:17-94:7, 123:17-125:23, 158:14-18. That included not just

installation, but programming the WiFi controllers, configuring the back-end computer server, and

resolving other technical details. Id., 94:8-95:4.

       Mr. Chandler’s testimony puts this case outside of the on-sale bar not just by the Court’s

reasoning in Sparton, but also based on longstanding and well-settled precedent that the on-sale

bar is triggered only when an invention “is complete, rather than merely one that is ‘substantially

complete.’” Pfaff, 525 U.S. at 66; see also id. at 68 n.14 (rejecting a bright-line rule for the on-sale

bar proposed by the Solicitor General because “the possibility of additional development after the

offer for sale” could negate that an invention was “ready for patenting at the time of the sale”).

Whether under that principle, or the “experimental use exception” to the on-sale bar, ScentAir’s




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post-Agreement development prior to and continuing after the critical date precludes the

application of the on-sale bar. See Honeywell Int’l, Inc. v. Universal Avionics Sys. Corp., 343 F.

Supp. 2d 272, 294-297 (D. Del. 2004) (rejecting application of on-sale bar under similar

circumstances); see also Space Systems/Loral, Inc. v. Lockheed Martin Corp., 271 F.3d 1076, 1080

(Fed. Cir. 2001) (deferring to inventor uncertainty regarding whether the inventor’s drawings

could be made to work in rejecting application of on-sale bar).

       Third, the Barclays Agreement does not demonstrate that what ScentAir was selling in

March 2012 was the patented invention. By its own terms, the Agreement is for “an environmental

scent service” that “is provided by means of an on-premise fragrance delivery system in the

[Barclays Center]” and “that uses replaceable scent cartridges or containers.” Ex. 13 at

SCENTAIR_00081879. The Barclays Agreement still has fragrances “TO BE DETERMINED”

and its Addendum I for “Scent System Pricing” has installation and recurring charges for various

areas of the Barclays Center. Id. at SCENTAIR_00081879, -882. The last item of Addendum I for

“Control Panel/Networking System” also does not specify anything about the patented invention,

and especially lacks any details regarding, for example, whether and how the “Control

Panel/Networking System” would manage data input and output to a central controller, the data

structures it would use, or whether it enabled “real time” status updates. Id. at

SCENTAIR_00081883. At most, Prolitec can show that a “control panel/networking system” was

sold to Barclays, but like in Plumtree, “[t]he patented invention is not the [control

panel/networking system] itself.” Plumtree, 473 F.3d at 1155; see also Sparton, 399 F.3d at 1324

(rejecting arguments that the post-sale conception of the invention triggered the on sale bar under

either a “conforming goods” or “contract for future goods” theory).

       Moreover, the Barclays Agreement takes the same form and terms as all of ScentAir’s scent




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service agreements, further demonstrating that the agreement is not for something new, such as

the patented invention. See, e.g., Ex. 14 at SCENTAIR_00004706. Just like the Barclays

Agreement, ScentAir’s standard agreement for individual scent machines describes the “Service”

to be provided as “an on-premise fragrance delivery system … that uses replaceable scent

cartridges or containers.” Id. It also includes “Equipment Installation charge[s]” and “recurring

charges.” Id. The only substantive difference between the Barclays Agreement and all of

ScentAir’s other agreements is the listing of “Control Panel/Networking System” but, as discussed

above, the patented invention is not just a control panel/networking system and the detail in the

Barclays Agreement comes far short of demonstrating that it covers the scope of the later-

conceived invention.

       Without a sale of the patented invention prior to the critical date of July 10, 2012, ScentAir

is entitled to summary judgment on Prolitec’s on-sale bar defense.

               2.      Prolitec Has Failed to Show “Command Data” Required by the Claims

       A claim is anticipated under the “on-sale” bar of § 102(b) “if each and every element

limitation is found, either expressly or inherently, in a single prior art reference.” Noven Pharms.,

Inc. v. Amneal Pharms. LLC, No. 18-699-LPS, 2020 WL 11191445, at *24 (D. Del. Sept. 4, 2020)

(citation omitted). That is why “testimony concerning anticipation must be testimony from one

skilled in the art and must identify each claim element, state the witnesses’ interpretation of the

claim element, and explain in detail how each claim element is disclosed in the prior art

reference.” Aspex Eyewear, Inc. v. Concepts In Optics, Inc., 111 F. App’x 582, 588 (Fed. Cir.

2004) (citation omitted) (emphasis added).

       Prolitec has not met its burden to show that each and every element of the asserted claims

is disclosed in the “Barclays Center Design Documents” because Dr. Plock has not adequately

identified what in his opinion meets the “command data” recited in the asserted claims. Paragraph


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90 of Dr. Plock’s Opening Report addresses this claim element. There, Dr. Plock recites the claim

element in the first sentence, discusses other parts of the claim language in the second sentence,

and then states, “Further, as discussed above, the out table ‘consists of the data needed to command

the control program,” citing SCENTAIR_00042351. Ex. 4, ¶ 90. Nowhere does Dr. Plock identify

what the “command data” is or how it is “generated based on the instructions stored in the out

table of the central controller” or how there is a “transmitting the command data to the networked

scent delivery device using the communication network” as recited in each claim. See Ex. 1, cls.

1, 8, 15. Dr. Plock’s Reply Report says no more on this subject.

       At his deposition, Dr. Plock was asked, “Do you point out anything specifically in your

report about what the command data is?” to which he answered, “I discuss, you know, that the out

table consists of the data needed to command the control program. But aside from paragraph 90,

I don’t get into specific details.” Ex. 7, 188:1-9 (emphasis added). Dr. Plock’s implicit assessment

of Paragraph 90 is too generous; he does not “get into specific details” there either. See Ex. 4, ¶ 90.

Because Dr. Plock fails to identify what the “command data” is or how it is “generated based on

the instructions stored in the out table of the central controller,” Prolitec is without any ability to

prove up those claim elements.

       C.      Dr. Plock’s Opinions on Obviousness and Anticipation Should Be Excluded,
               and Summary Judgment Should Be Granted to ScentAir

       This case is not “one of those rare cases where the invention is so simple that expert

testimony is not required.” Aspex Eyewear, 111 F. App’x at 588. Dr. Plock is Prolitec’s only

technical expert and thus the only person who can carry the water on Prolitec’s anticipation and

obviousness defenses. Yet Dr. Plock fails to provide legally sufficient opinions to support either

defense. Dr. Plock’s failings are many. He lists seven references that he could combine in dozens,

if not hundreds, of ways, using the same formulaic, generic motivation to make each combination.



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These hindsight-ridden, generic-benefit-driven motivations to combine are divorced from the

references themselves and demonstrate a subjective desire to invalidate the claims, not an objective

motivation in the art to arrive at the claimed invention. The Court should thus exclude Dr. Plock’s

opinions as unsupported, unreliable, and in violation of Daubert and Rule 702. See, e.g., Izumi

Prods. Co. v. Koninklijke Philips Elecs. N.V., 140 F. App’x 236, 244 (Fed. Cir. 2005) (affirming

exclusion of conclusory expert testimony that was unsupported other than by the expert’s

subjective belief).

       Without Dr. Plock’s fundamentally flawed opinions, Prolitec has no basis to prove its

defenses and certainly cannot meet its clear and convincing burden to overcome the presumption

of validity. See Microsoft Corp. v. i4i Ltd., 564 U.S. 91, 96-97, 101-02 (2011) (party challenging

patent on obviousness grounds bears a high burden of persuasion); Extang Corp. v. Truck

Accessories Grp., LLC, No. CV 19-923 (KAJ), 2022 WL 610451, at *1 (D. Del. Feb. 18, 2022)

(“the party challenging validity must prove that the claims are invalid by clear and convincing

evidence.”) (citation omitted). Should the Court exclude Dr. Plock’s opinions, the Court should

also grant summary judgment of no obviousness and no anticipation.

               1.      Dr. Plock’s Obviousness Opinions Are Legally Insufficient

       Dr. Plock’s obviousness opinions4 should be excluded, and ScentAir should be granted

summary judgment of non-obviousness, because Dr. Plock’s obviousness analysis is insufficient

under the law. First, Dr. Plock’s opinions consist of little more than a long (and ambiguous) “pick

and choose” menu option of prior art references that he contends disclose one or more of the

elements of the asserted claims. The sheer number of Dr. Plock’s potential combinations, in view




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 The obviousness opinions to be excluded are expressed at Ex. 4, ¶¶ 264-332 and Ex. 6, ¶¶ 69,
119-125, 132-133.


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of his scant analysis of each, violates Rule 26 and improperly road maps against the claims.

Second, Dr. Plock’s motivations to combine follow a rote formulation that has the same, generic-

benefits-based reasons to combine regardless of the particulars of the references being combined

(or the number of them being combined). Dr. Plock’s generalized motivations are of the type

commonly rejected by the Federal Circuit as improper hindsight. At base, it is not enough to

“merely list[] a number of prior art references and then conclude[]” obviousness. Innogenetics,

N.V. v. Abbott Laboratories, 512 F.3d 1363, 1373 (Fed. Cir. 2008). Dr. Plock’s faulty opinions

should be excluded because “[t]he risk is great that the confusion or generality is the result, not of

an inarticulate witness or complex subject matter, but of a witness who is unable to provide the

essential testimony.” Schumer v. Lab. Computer Sys., Inc., 308 F.3d 1304, 1316 (Fed. Cir. 2002)

(finding it “improper” to “accept confusing or generalized testimony as evidence of invalidity”).

                       a.      Dr. Plock’s “Pick and Choose” Opinions Are Based in Hindsight
                               Alone and Are Practically Boundless in Scope

       A viable obviousness defense rests on a clear articulation of “the scope and content of the

prior art,” the “differences between the prior art and the claims at issue,” and “the level of ordinary

skill in the pertinent art;” it is against this backdrop that “the obviousness or nonobviousness of

the subject matter is determined.” Acceleration Bay, LLC v. Amazon Web Servs., Inc., CV 22-904-

RGA, 2024 WL 4164876, at *3 (D. Del. Sept. 12, 2024) (quoting KSR, 550 U.S. at 406). Rather

than follow this beacon, however, Dr. Plock took an unfortunately all-too-familiar path that puts

the onus on ScentAir and the Court to determine what Dr. Plock’s opinions were. Dr. Plock’s

obviousness opinions take one of the following improper forms:

       •   “To the extent any limitation is explicitly or inherently missing from [Reference 1], the
           claim charts illustrate that either [Reference 2], [Reference 3], [Reference 4],
           [Reference 5], [Reference 6], and/or [Reference 7] cure any such deficiency.” Ex. 4,
           ¶¶ 264, 282-286 (emphasis added).

       •   “To the extent [Reference 1] does not meet this limitation, at least [Reference 2] cures


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            this deficiency,” but then goes on to analyze also References 3 and 4 as well. Id.,
            ¶¶ 296-303, 305 (emphasis added).

        •   “To the extent [Reference 1] does not disclose this limitation” it “was well-known in
            the art. [Reference 1], [Reference 2], [Reference 3], [Reference 4], [Reference 5],
            and/or [Reference 6] provide such functionality.” Id., ¶ 308 (emphasis added).

        •   “Claims 1-20 are obvious over at least the following combination of references: …
            [Reference 1] in view of [Reference 2] and one of [Reference 3], [Reference 4],
            [Reference 5], [Reference 6], or [Reference 7].” Id., ¶¶ 287, 329 (emphasis added).

        It is impossible to make heads or tails of the sheer number of possible combinations of Dr.

Plock’s “[t]o the extent any limitation” is missing, “either … and/or,” and “at least” formulations

of potentially seven references in combination. Dr. Plock certainly did not know the answer to that

at his deposition. When asked if he could articulate how many obviousness combinations he was

proposing, he answered, “Sitting here right now, I don’t know.” Ex. 7, 212:20-213:7. Even after

he consulted his report, he still could not answer the question. All he could do is point to the

paragraphs of his report for ScentAir to figure it out. Id., 216:24-217:14. If Dr. Plock cannot

enumerate the combinations he is proposing, it should not be up to ScentAir and the factfinder to

figure it out.

        Further complicating the matter is Exhibit D to Dr. Plock’s Opening Report, which also

forms part of Dr. Plock’s opinions. Id., 222:10-23. Exhibit D is a slightly modified version of

Prolitec’s invalidity contentions claim chart for the ‘388 Patent, containing scant analysis but pages

of copy/paste from various references with no discernable care to whether any of it has anything

to do with Dr. Plock’s opinions.5 See generally Ex. 5. To discern what Dr. Plock’s obviousness

opinions are, Dr. Plock suggested the following approach: “start with the report” because it




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  Dr. Plock testified he “[does not] believe he wrote Exhibit D. Ex. 7, 225:25-226:3. He also
testified he was not involved in creating the invalidity contentions for Prolitec. Id., 226:20-24.


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“provides the combinations” (meaning those innumerable potential combinations above), then, “if

after reading the combinations there is some doubt as to whether one of the combinations does not

expressly or inherently disclose a particular claim limitation, one may refer to Exhibit D.” Ex. 7,

221:1-222:9. But that only confuses matters more. Cf. id., 230:9-231:21. When asked whether

citations to the prior art in Exhibit D means Dr. Plock “contend[s] that the prior art reference meets

or has [that element],” Dr. Plock responded, “I don’t think that’s a fair characterization” and

instead pointed back to his report. Id., 230:12-231:21. The result is an endless loop. Where the

report lacks detail, the reader should consult Exhibit D, but Exhibit D does not fairly characterize

Dr. Plock’s opinions, so the reader should refer back to the report. This circularity demonstrates

how unworkable Dr. Plock’s opinions are. The jury should be shielded from this unhelpful,

confusing analysis.

       “The purpose of the expert disclosure rule is to ‘provide opposing parties reasonable

opportunity to prepare for effective cross examination and perhaps arrange for expert testimony

from other witnesses.’” Rembrandt Vision Techs., L.P. v. Johnson & Johnson Vision Care, Inc.,

725 F.3d 1377, 1381 (Fed. Cir. 2013) (citation omitted). Dr. Plock’s expert disclosures did not

accord ScentAir that opportunity, and Dr. Plock’s deposition shows that there is no universe where

ScentAir could reasonably obtain that opportunity. See Ex. 7, 212:20-213:7, 216:24-217:14. Dr.

Plock and Prolitec certainly have a plan to present a limited set of obviousness combinations at

trial and should have clearly identified those earlier. Trial by ambush should not be tolerated.

       Separate from Dr. Plock’s disclosure problem, the “pick and choose” nature of Dr. Plock’s

obviousness combinations is improper. The Federal Circuit has rejected this very same hindsight-

based analysis because Congress has “prevent[ed] evaluation of the invention part by part. Without

this important requirement, an obviousness assessment might,” as Dr. Plock has done, “break an




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invention into its component parts, then find a prior art reference corresponding to each

component.” Princeton Biochemicals v. Beckman Coulter, Inc., 411 F.3d 1332, 1337 (Fed. Cir.

2005); see also Advanced Cardiovascular Sys., Inc. v. SciMed Life Sys., 101 F. Supp. 2d 1257,

1259-60 (N.D. Cal. 1999) (denying reconsideration of summary judgment of no obviousness

where expert’s analysis was “to ‘pick and choose’ elements from among [the prior art] and, with

explicit reference to the [asserted] patent, to establish obviousness with ‘hindsight.’”).

Obviousness “cannot be based on the hindsight combination of components selectively culled from

the prior art to fit the parameters of the patented invention,” but that is exactly how Dr. Plock went

about his analysis. ATD Corp. v. Lydall, Inc., 159 F.3d 534, 546 (Fed. Cir. 1998); see also

Princeton Biochemicals, 411 F.3d at 1337 (finding the patent cannot serve “as a roadmap to find

its prior art components”). Dr. Plock’s opinions are insufficient to go to the jury.

                       b.      Dr. Plock’s Motivation to Combine Opinions Are Generic and
                               Bear No Relation to Any Specific Combination of the Prior Art

       Dr. Plock’s obviousness opinions should also be excluded, and summary judgment of non-

obviousness should be granted to ScentAir, because Dr. Plock’s motivations to combine all follow

the same improper, hindsight-based formula. According to Dr. Plock, it would be obvious to a

POSITA to make each of the innumerable combinations he proposes (as discussed above) because

a first reference is missing a requirement of the asserted claims and a second reference provides

some benefits. See, e.g., Ex. 4, ¶¶ 264, 288, 330. But generic benefits, standing alone, are not

enough for obviousness, especially where Dr. Plock failed to explain deficiencies in any of the

references that would suggest filling a gap or solving a problem with a secondary reference and

for that generic benefit. TQ Delta, LLC v. Cisco Sys. Inc., 942 F.3d 1352, 1359 (Fed. Cir. 2019)

(quoting In re Van Os, 844 F.3d 1359, 1361-62 (Fed. Cir. 2017)) (“‘[A] conclusory assertion with

no explanation is inadequate to support a finding that there would have been a motivation to



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combine’ because ‘[t]his type of finding, without more, tracks the ex post reasoning KSR warned

of and fails to identify any actual reason why a skilled artisan would have combined the elements

in the manner claimed.’”); Koito, 381 F.3d at 1152 (“General and conclusory testimony . . . does

not suffice as substantial evidence of invalidity.”) (citation omitted). Other than filling in holes he

needs to achieve an opinion that the claims are obvious, Dr. Plock’s motivation to combine

opinions “bear[] no relation to any specific combination of prior art elements.” Adasa Inc. v. Avery

Dennison Corp., No. 6:17-cv-01685-MK, 2020 WL 5518184, at *6-7 (D. Or. Sept. 14, 2020), aff’d

in part, rev’d in part on other grounds, 55 F.4th 900 (Fed. Cir. 2022). Examples from both of Dr.

Plock’s operative reports follow.

                               (i)     Dr. Plock’s Obviousness Opinions in His Opening
                                       Report Are Insufficient

       As a first example, Dr. Plock opines that if Hamada is missing the claimed requirement

“receiving a signal from the networked scent delivery device using the communication network,

wherein the signal includes status data representing a status of the networking [sic] scent delivery

device,” then it “would be obvious to a POSITA” to add Yamada “at least because Yamada

explains that its system allows power consumption benefits to be obtained.” Ex. 4, ¶¶ 265, 268.

Dr. Plock fails to provide any explanation what signal status features have to do with power

consumption benefits, or what it was about Hamada or Yamada that would lead a POSITA to make

that combination. Dr. Plock also fails to explain why a POSITA would look to decrease power

consumption in Hamada or even that Hamada is concerned with power consumption such that a

POSITA would look to references like Yamada to address that need. Dr. Plock also does not

explain how adding a signal status feature to Hamada would decrease that power consumption,

even if one were to make the combination. Dr. Plock’s cursory discussion of power consumption

benefits could be copied and pasted into a motivation to combine opinion for any electronic



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component patent claim, which shows that Dr. Plock’s opinions are untethered to anything of

import in this case.

       Another example is Dr. Plock’s opinion that a POSITA would be motivated to add a signal

status feature to Hamada because Van Roemburg can improve dispersion of scent. E.g., Ex. 4,

¶ 276. Again, Dr. Plock has no explanation of what it is about Hamada that would lead a POSITA

to even look to improve its scent dispersion, or even if that POSITA was interested in improving

scent dispersion, why the POSITA would look to add a status signal feature to achieve that goal.

Dr. Plock’s motivations to combine all follow this pattern in one way or another. See id., ¶¶ 271,

274, 276, 278, 280 (Hamada-based combinations); id., ¶¶ 282-286 (incorporation by reference);

id., ¶¶ 299, 301, 309-314 (Van Roemburg-based combinations); id., ¶¶ 317, 319, 328

(incorporation by reference). They are formulaic too; Dr. Plock uses the same motivation to

combine rationale regardless of the primary reference. Compare id., ¶ 268 with id., ¶¶ 301, 310;

compare id., ¶ 271 with id., ¶¶ 303, 311; compare id., ¶ 274 with id. ¶ 312; compare id. ¶ 278 with

id., ¶ 313; compare id., ¶ 280 with id., ¶ 314. To avoid any doubt, Dr. Plock confirmed that his

motivation opinions were fully stated in his reports, so the Court only need evaluate the four

corners of those reports to evaluate the propriety of those opinions. See Ex. 7, 228:17-24.

       Dr. Plock’s opinion that the seven cited references “are directed to the use of a centralized

system to direct the operation of remote appliances and devices, including scent dispensing

devices” is nothing more than an insufficient reason to combine because the references are

analogous to one another. Ex. 4, ¶¶ 289-290, 331-332. As this Court recently found in Acceleration

Bay, an opinion that “the prior art references are analogous to each other and to the claimed

invention” is insufficient to survive Daubert or summary judgment, especially where, as here, the

expert failed to sufficiently explain how or why a POSITA would have “combined elements” from




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the prior art “in the way the claimed invention does.” Acceleration Bay, 2024 WL 4164876 at *18

(quoting ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1328 (Fed. Cir.

2012)); see also Sisvel Int’l S.A. v. Sierra Wireless, Inc., 82 F.4th 1355, 1364 (Fed. Cir. 2023).

       Dr. Plock’s conclusory analysis on expectation of success (in its entirety: “A POSITA

would expect success in combining these references because they all describe using similar and

compatible communication protocols”) also cannot save Prolitec’s obviousness case from

summary judgment. See Ex. 4, ¶¶ 290, 332. The Federal Circuit’s ActiveVideo opinion is

instructive. There, the expert provided “a conclusory statement that a person of ordinary skill in

the art would have known, based on the ‘modular’ nature of the claimed components, how to

combine any of a number of references to achieve the claimed inventions.” ActiveVideo, 694 F.3d

at 1327. The court found that opinion was “not sufficient and [] fraught with hindsight bias.” Id.

Dr. Plock’s opinion is no different in its characterization of the seven references having “similar

and compatible communication protocols.” Ex. 4, ¶¶ 290, 332. Besides being conclusory, this

opinion is a red herring because Dr. Plock is not proposing to combine their communication

protocols (as far as ScentAir understands) but other features of their underlying structure,

components, and actions. The references’ communication protocols thus have nothing to do with

Dr. Plock’s proposed combinations.

                               (ii)   Dr. Plock’s New Obviousness Opinions in His Reply
                                      Report Are Insufficient

       Dr. Plock’s new opinions in his Reply Report are also insufficient. There, Dr. Plock opines

that it would have been obvious to supplement prior art references Hamada, Yamada, WebCTRL,

and Van Roemburg with “separate tables for controlling and monitoring a device” or, alternatively,

to supplement the references with one database table and then also to “split [that] single table by

database partitioning.” Ex. 6, ¶ 119. These opinions explicitly use the ‘388 Patent as a roadmap,



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discussing the “performance benefit” of the arrangement of the ‘388 Patent and then working

backward to find disparate documents that discuss generic performance benefits of general design

techniques in the art. Id., ¶¶ 120-125. Paragraph 124 is the most egregious. It looks to the claimed

arrangement of the ‘388 Patent in the first sentence, identifies a performance benefit of that

arrangement in the second sentence; and concludes that if a POSITA were to do what the ‘388

Patent requires “in the first place,” they would be able to achieve those benefits. Id., ¶ 124. The

circularity (and insufficiency) of this opinion cannot be overstated.

       The other paragraphs of Dr. Plock’s new Reply Report combinations also lack any relation

to any specific combination of prior art elements and espouse nothing more than generic,

hindsight-fraught reasons to arrive at the claimed invention. See id., ¶¶ 120-122. For example, if

it were true that “[b]oth common sense and standard database design practices would indicate

using separate tables, one for incoming data and a second for outgoing data,” id., ¶ 121, one would

think that Dr. Plock could identify even a single reference with this architecture. Yet none of his

cited textbooks or publications have such an arrangement, and the only two prior art references

that use tables (Hamada and Yamada) effectively teach away from this arrangement because both

disclose using a single table for both incoming and outgoing data, and neither state any problems

with this configuration. See Ex. 8, ¶¶ [0037]-[0038]; Ex. 9, ¶¶ [0238]-[0242]. Furthermore, Dr.

Plock’s opinions that a POSITA would add tables or modify tables of WebCTRL and Van

Roemburg, which by Dr. Plock’s own admission have no tables at all, are not fit for a courtroom.

See generally Ex. 6, ¶¶ 119-125.

       Compounding the fundamental problems with Dr. Plock’s obviousness analysis, especially

in his Reply Report, is that he contends obviousness of the same exact claim elements that the




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USPTO found—twice—to be the ‘388 Patent claims’ point of novelty over the prior art.6 E.g., id.,

¶ 123. In both original prosecution and during the recent reexamination, the USPTO found the

claims of the ‘388 Patent patentable over the prior art because of its recited “in table in which

verification information related to each networked scent delivery device is stored” and its recited

“out table in which instructions for each networked scent delivery device are stored.” See Ex. 2 at

155-56; Ex. 3 at 458-59. It is the epitome of hindsight bias for Dr. Plock to claim that those

elements, having not been found in any of the prior art at the Patent Office either time or in any of

the prior art he relies on, is somehow just “obvious.”

       Additionally, Dr. Plock’s obviousness position grafted into his on-sale bar opinions in

Reply also falls victim to the same hindsight-based and improperly non-specific reasoning. Ex. 6,

¶ 69. Dr. Plock asserts it would have been obvious to redesign a preexisting scent machine so that

its electronics now include a controller, a relay, and a network module simply because “[d]oing so

is well within the knowledge of [a] POSITA” and because the integration would perform the same

functions together as they exist separately. Id. Nothing is said about the specifics of the scent

machine, the relay, or what it is about those components that would suggest to a POSITA to make

that combination. Dr. Plock just wants the Court, and the jury, to take his word for it.

                               (iii)   All of Dr. Plock’s Obviousness Opinions Fail to Satisfy
                                       Controlling Precedent

       None of Dr. Plock’s obviousness opinions, whether his Opening Report or Reply, have a

“rational underpinning” as required by controlling precedent. Innogenetics, 512 F.3d at 1373; In

re Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006) (“[R]ejections on obviousness grounds cannot be




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 ScentAir agrees that this is one point of novelty but, to the extent the USPTO’s writings could
be read as limiting, ScentAir disagrees that this is the only point of novelty.


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sustained by mere conclusory statements; instead, there must be some articulated reasoning with

some rational underpinning to support the legal conclusion of obviousness.”); see also Securus

Techs., Inc. v. Glob. Tel*Link Corp., 701 F. App’x 971, 977 (Fed. Cir. 2017) (“Securus’ case

against the patentability of the claimed invention amounts to ‘mere conclusory statements,’ which

fall short of ‘some articulated reasoning with some rational underpinning to support the legal

conclusion of obviousness.’”).

       Quite different from the way Prolitec and Dr. Plock did things,7 precedent requires that

“[t]here must be a teaching or suggestion within the prior art, or within the general knowledge of

a person of ordinary skill in the field of the invention, to look to particular sources of information,

to select particular elements, and to combine them in the way they were combined by the inventor.”

ATD, 159 F.3d at 546 (citation omitted); see also InTouch Techs., Inc. v. VGO Commc’ns, Inc.,

751 F.3d 1327, 1348-49 (Fed. Cir. 2014) (to demonstrate obviousness, it is not enough to show

“all of the elements of the claims disparately existed in the prior art”). Dr. Plock’s opinions, on the

other hand, are “generic and bear[] no relation to any specific combination of prior art elements.”

ActiveVideo, 694 F.3d at 1328.

       The Federal Circuit routinely rejects generic, benefit-driven motivation opinions like those

of Dr. Plock here. In ActiveVideo, for example, the expert opined, “[t]he motivation to combine

would be because you wanted to build something better. You wanted a system that was more

efficient, cheaper, or you wanted a system that had more features . . . .” Id. The Federal Circuit

excluded those opinions, which track Dr. Plock’s opinions here, for failing to “explain why a

person of ordinary skill in the art would have combined elements from specific references in the




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 In a humorous moment at the deposition, Dr. Plock testified that his previous experiences drafting
expert reports on obviousness “were not quite the same as this one.” Ex. 7, 223:10-21.


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way the claimed invention does.” Id. (citing KSR, 550 U.S. at 418) (emphasis in original).

Similarly, the Federal Circuit has previously held that “argument[s] that other art recognized

advantages” of the claimed invention “boil[] down to no more than hindsight reconstruction.”

Gillette Co. v. S.C. Johnson & Son, Inc., 919 F.2d 720, 726 (Fed. Cir. 1990). Hindsight has long

been forbidden in the obviousness analysis, and as a result, Dr. Plock’s opinions must be excluded.

See Metalcraft of Mayville, Inc. v. Toro Co., 848 F.3d 1358, 1367 (Fed. Cir. 2017) (“[W]e cannot

allow hindsight bias to be the thread that stitches together prior art patches into something that is

the claimed invention.”).

         “As [Prolitec]’s invalidity contentions rely on [Dr. Plock]’s testimony, [Dr. Plock]’s failure

to opine on a POSA’s motivation to combine the asserted prior art references proves fatal to

Defendant's obviousness theory.” Acceleration Bay, 2024 WL 4164876 at *19. Accordingly, this

Court should follow in the footsteps of Acceleration Bay, exclude the faulty opinions of Dr. Plock,

and grant summary judgment of non-obviousness to ScentAir. Id.

                 2.     Dr. Plock’s Opinions on Inherency, Relating to Obviousness and
                        Anticipation, Are Improper

         In addition to his failings on anticipation and obviousness above, Dr. Plock also misuses

the inherency doctrine as a shorthand for hindsight-based gap-filling out of step with what the law

requires.8 Dr. Plock does this for his opinions that Hamada anticipates claims 1-4 and for his

opinions that Van Roemburg renders obvious claim 1. Ex. 4, ¶¶ 144, 152-160 (Hamada); Id.,

¶¶ 295, 304 (Van Roemburg).

         Inherency is a doctrine that is easy to abuse and thus has strict requirements. To invoke it,

Dr. Plock needed to demonstrate, by clear and convincing evidence, that a particular claim element




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    The inherency opinions to be excluded are at Ex. 4, ¶¶ 144, 148-160, 295, 304.


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is “necessarily” present or is “the natural result of the combination of elements explicitly disclosed

by the prior art.” Endo Pharms. Sols., Inc. v. Custopharm Inc., 894 F.3d 1374, 1381 (Fed. Cir.

2018) (citation omitted); In re Robertson, 169 F.3d 743, 745 (Fed. Cir. 1999) (reasoning that

“[i]nherency . . . may not be established by probabilities or possibilities [and] [t]he mere fact that

a certain thing may result from a given set of circumstances is not sufficient”) (internal quotations

and citations omitted). Additionally, “inherency may supply a missing claim limitation in an

obviousness analysis,” but the concept of inherency “must be carefully circumscribed” in this

context and the party arguing inherency must “meet a high standard” for inherency to apply. PAR

Pharm, Inc. v. TWI Pharms., Inc., 773 F.3d 1186, 1194-96 (Fed. Cir. 2014). Dr. Plock’s opinions

do not come close to the high standard set by precedent. He failed to explain “how [his] experience

leads to the conclusion reached, why that experience is a sufficient basis for the opinion, and how

that experience is reliably applied to the facts. The trial court’s gatekeeping function requires more

than simply ‘taking the expert’s word for it.’” Integra Lifesciences Corp. v. HyperBranch Med.

Tech., Inc., No. 15-819-LPS-CJB, 2018 WL 1785033, at *6 (D. Del. Apr. 4, 2018) (citation

omitted); Gen. Elec. Co. v. Joiner, 118 S. Ct. 512, 519 (1997) (affirming exclusion of ipse dixit

expert opinion).

                       a.      Hamada

       Dr. Plock opines in relation to the “verification information” element of claim 1 and in

relation to the “operation status” of claims 2-4 that “[t]he system of Hamada would inherently have

this capability.” Ex. 4, ¶ 152; see also id., ¶¶ 144, 159-160. Essentially, Dr. Plock opines that

Hamada communicates via the internet, systems that communicate via the internet use

acknowledgement message protocols, and those acknowledgement messages meet the claim

elements. Id., ¶¶ 152-158; see also id., ¶¶ 144, 159-160 (regarding claims 1, 3, and 4). Putting

aside that there is nothing about an operation status, as required by claims 2-4, in an


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acknowledgement message, Dr. Plock is misusing the doctrine of inherency. Dr. Plock’s inherency

arguments are facially improper because he relies on another reference, Kurose, to fill the gap of

Hamada. Id., ¶¶ 152-155. Combining references is for obviousness, not anticipation or inherency.

Regardless, inherency is also not appropriate here because Dr. Plock conceded that Hamada’s

disclosure did not necessarily impose the internet but permits “non-internet communication

networks” by its open-ended “such as” language. Ex. 7, 205:15-206:1; see also id., 202:22-203:19,

204:18-205:14. A POSITA would read it the same way and choose the proper communication

network “depend[ing] on the use case.” Id., 203:20-204:17, 205:23-206:1; contra Net MoneyIN,

Inc. v. VeriSign, Inc., 545 F.3d 1359, 1371 (Fed. Cir. 2008) (“[T]he [prior art] reference must

clearly and unequivocally disclose the claimed [invention] or direct those skilled in the art to the

[invention] without any need for picking, choosing, and combining various disclosures not directly

related to each other by the teachings of the cited reference.”). Because Dr. Plock’s inherency

opinion relies on a POSITA necessarily using the internet while Hamada permits non-internet

communication networks, Dr. Plock’s inherency opinion fails.

       Dr. Plock’s inherency opinions also disregard the requirements of the claim, further

demonstrating the unhelpfulness of his testimony. For example, claim 1 requires a receipt of

“status data representing a status of the networked scent delivery device,” and Dr. Plock opines

that the “provided flag” of Hamada’s Figure 4 meets that “status data.” Ex. 4, ¶ 148; Ex. 8 at Fig.

4; Ex. 7, 206:10-207:16. Dependent claims 2-4 add further requirements on that “status data,” but

Dr. Plock says nothing about the “provided flag” in his opinions on claims 2-4. Instead, those are

the claims on which he (mis)uses inherency to point to a different type of data in a different type

of message. See Ex. 4, ¶¶ 148-160. Having identified the “provided flag” as meeting the recited

“status data,” Dr. Plock cannot point to something else entirely that has nothing to do with the




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“provided flag” to meet dependent claims 2-4.

       Dr. Plock also misuses the inherency doctrine in his obviousness combinations stemming

from Hamada. For example, Dr. Plock’s Paragraph 281 of his Opening Report, arguing that status

information from any of six different prior art references “would naturally be provided in real-

time,” comes nowhere close to meeting the “high standard” required to invoke inherency to meet

a claim requirement missing from the prior art. PAR Pharm., 773 F.3d at 1194-96; Ex. 4, ¶ 281.

Dr. Plock’s reports lack any discussion of how or why provision in “real-time” would necessarily

be the result of the receipt of status information, even assuming for argument’s sake that those six

prior art references disclose such status information.

                       b.     Van Roemburg

       Dr. Plock also opines in conclusory fashion that “Van Roemburg’s system would

inherently include ‘an out table in which instructions for each networked scent delivery device are

stored.’” Ex. 4, ¶¶ 295, 304. Why? All Dr. Plock says is that “Van Roemburg’s system uses

software which enables an operator to communicate between a computer and the wired or wireless

dispenses” and that “[a] POSITA would understand that ‘software’ serves as a ‘computer-

implemented method’ that can process instructions.” Id. Dr. Plock omits any discussion of an “out

table,” what about Van Roemburg makes an out table “necessarily” present, or anything other than

Dr. Plock’s say-so. Id.; see also id., ¶ 315. “The trial court’s gatekeeping function requires more

than simply ‘taking the expert’s word for it.’” Integra Lifesciences, 2018 WL 1785033, at *6

(citation omitted). The Court should exclude these improper opinions as well.

       D.      Summary Judgment of No Inequitable Conduct Is Appropriate Because
               Prolitec Has No Evidence of a Specific Intent to Deceive the USPTO

       To prevail on its Seventh Affirmative Defense for inequitable conduct (D.I. 193 ¶¶ 7-33),

Prolitec needs to present clear and convincing evidence of materiality and a specific intent to



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deceive the USPTO. Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d 1276, 1287, 1290

(Fed. Cir. 2011) (en banc). But Prolitec—like many accused patent infringers who assert the

defense—lacks any evidence to support a specific intent to deceive the USPTO; its only evidence

and testimony goes to materiality.9 “Intent and materiality, however, are separate requirements”

and must be analyzed and proven separately. Luv N’ Care, Ltd. v. Laurain, 98 F.4th 1081, 1097

(Fed. Cir. 2024); see also Therasense, 649 F.3d at 1290 (“[A] district court may not infer intent

solely from materiality.”); 1st Media, LLC v. Elec. Arts, Inc., 694 F.3d 1367, 1373 (Fed. Cir. 2012)

(“A court can no longer infer intent to deceive from non-disclosure of a reference solely because

that reference was known and material. Moreover, a patentee need not offer any good faith

explanation for his conduct unless and until an accused infringer has met his burden to prove an

intent to deceive by clear and convincing evidence.”). Prolitec thus has no way of establishing

evidence “sufficient to require a finding of deceitful intent,” especially not the clear and

convincing evidence it needs. Therasense, 649 F.3d at 1290. In cases like this, summary judgment

on a litigant’s inequitable conduct defense is appropriate. See Greatbatch Ltd. v. AVX Corp., No.

CV 13-723-LPS, 2015 WL 9171042, at *13 (D. Del. Dec. 11, 2015) (“Because Mr. Stevenson’s

failure to disclose the Cox prior art, by itself, is insufficient to show intent—yet that is the only

evidence of intent to which AVX points—the record does not support a reasonable finding that

Mr. Stevenson acted with deceptive intent.”).

       Prolitec’s Seventh Affirmative Defense alleges that there was inequitable conduct by “the

applicant and named inventors, John Thurston Chandler and Chad Alan Morton, and/or their

representatives involved in the prosecution of the patents.” D.I. 193 at ¶ 7 (emphasis added).




9
  ScentAir disputes that the Barclays System is an invalidating reference or that it was material to
the USPTO’s issuance of the ’388 Patent, but those disputes are ancillary to this Motion.


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Inferentially, those “representatives” might be patent agent Hyun Jin In and attorney Sameer

Vadera. See id., ¶¶ 18, 22. Prolitec asserts inequitable conduct on the basis of the lack of disclosure

of a “networked controlled scent delivery system for the Barclay’s [sic] Arena” to the USPTO. See

generally id., ¶¶ 7-33. Prolitec’s affirmative defense pleads intent only in a lone paragraph “[o]n

information and belief,” and Prolitec has not adduced any evidence or testimony to support a

specific intent to deceive. Id., ¶ 28. Prolitec’s “belief” is thus the only thing it has to demonstrate

a specific intent to deceive, which is to say it has no evidence at all.

       Prolitec had sufficient opportunity to seek evidence of intent yet still came up empty. The

requirements specifications underlying the Barclays Center system (the same documents that form

the basis of Prolitec’s defense, D.I. 193 Exs. C-E) were produced to Prolitec on April 24, 2023,

two weeks before Prolitec’s deposition of the two inventors, Chandler and Morton. Galluzzo Decl.,

¶¶ 19-20. Prolitec thus asked the inventors numerous questions about those documents and about

the Barclays Center system, yet Prolitec came away with nothing on intent to deceive—because

there was none. Likewise, Prolitec knew no later than ScentAir’s second production of documents

in this case, on January 13, 2021, that Messrs. In and Vadera were involved in the prosecution of

the ‘388 Patent, but Prolitec declined to depose either. Id., ¶¶ 18, 21. Prolitec thus has no evidence

or testimony to support a specific intent by them to deceive the USPTO either—again, because

none exists. Without any evidence to support a specific intent to deceive, the Court should grant

summary judgment to ScentAir of no inequitable conduct.

VI.    CONCLUSION

       ScentAir respectfully requests that the Court grant its motions for summary judgment of

no anticipation, no obviousness, no on-sale bar, and no inequitable conduct, and to exclude the

challenged opinions of Dr. Plock.




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